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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 WILLIAM JACKSON,                                            CIVIL ACTION

            Plaintiff,
                                                             NO. 20-1421-KSM
            v.

 TEMPLE UNIVERSITY,

            Defendant.


                                                ORDER

        AND NOW, this 27th day of September, 2021, upon consideration of Defendant’s Motion

to Dismiss (Doc. No. 3) and Plaintiff’s opposition brief (Doc. No. 9), it is ORDERED that the

motion is GRANTED IN PART and DENIED IN PART as follows:

        1.          Count II of the complaint is DISMISSED WITHOUT PREJUDICE in its

entirety.        If Plaintiff can in good faith cure the defects identified in the accompanying

Memorandum, he may file an amended complaint as to Count II. Any amended complaint shall

be filed by October 8, 2021.

        2.          Counts IV, V, and VI of the complaint are DISMISSED WITH PREJUDICE to

the extent that Plaintiff’s ADA retaliation claims are based on a failure to accommodate.

        3.          The remainder of the motion is DENIED.

        IT IS FURTHER ORDERED that counsel for the parties shall meet and confer and

jointly propose case management deadlines for the Court’s consideration by October 13, 2021.

IT IS SO ORDERED.

                                                      /s/Karen Spencer Marston
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                                                      KAREN SPENCER MARSTON, J.
